                                               Case 2:05-cv-01935-MCE-GGH Document 117 Filed 12/01/05 Page 1 of 3


                                         1     BUCHALTER NEMER
                                               A Professional Corporation
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                                               LAURA WORSINGER (SBN: 51859)
                                         3     WILLIAM M. MILLER (SBN: 216289)
                                               1000 Wilshire Boulevard, Suite 1500
                                         4     Los Angeles, CA 90017-2457
                                               Telephone: (213) 891-0700
                                         5     Facsimile: (213) 896-0400
                                         6     Attorneys for Defendants
                                               NAUTICA RETAIL USA, INC., BIG DOG USA,
                                         7     INC., SKECHERS USA, INC., RETAIL BRAND
                                               ALLIANCE, INC. (DBA CASUAL CORNER
                                         8     AND PETITE SOPHISTICATES and BROOKS
                                               BROTHERS), and THE WILLIAM CARTER
                                         9     COMPANY (dba CARTER’S and OSH KOSH)
                                     10
                                                                    UNITED STATES DISTRICT COURT
                                     11
                                                                  EASTERN DISTRICT OF CALIFORNIA
                                     12

                                     13
                                               GARY PALMER,                          CASE NO. 05-CV-01935 MCE-GGH
                                     14
                                                           Plaintiff,                STIPULATION AND ORDER
                                     15                                              EXTENDING DEFENDANTS
                                                     vs.                             NAUTICA RETAIL USA, INC.,
                                     16                                              RETAIL BRAND ALLIANCE, INC.,
                                               CHELSEA FINANCING                     BIG DOG USA, INC., SKECHERS
                                     17        PARTNERSHIP, LP; AEROGROUP            USA, INC. AND THE WILLIAM
                                               RETAIL HOLDINGS, INC, ET AL.,         CARTER COMPANY’S TIME TO
                                     18                                              RESPOND TO PLAINTIFF GARY
                                                           Defendants.               PALMER’S COMPLAINT
                                     19
                                                                                     Date: N/A
                                     20                                              Time: N/A
                                                                                     Judge: Morrison C. England, Jr.
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B UCHALTER N EMER                                                                    1
A P R O F E S S I ON A L C OR P OR A T I O N
          L OS A N G ELES
                                               Case 2:05-cv-01935-MCE-GGH Document 117 Filed 12/01/05 Page 2 of 3


                                         1                                       STIPULATION
                                         2           WHEREAS Defendants Nautica Retail USA, Inc., Big Dog USA, Inc.,
                                         3     Skechers USA, Inc., The William Carter Company and Retail Brand Alliance, Inc.
                                         4     (dba Petite Sophisticates and Casual Corner and Brooks Brothers) (“Defendants”)
                                         5     were served with the Complaint in the above-captioned matter on or about October
                                         6     14, 2005; and
                                         7           WHEREAS Plaintiff Gary Palmer (“Plaintiff”) and Defendants have been
                                         8     discussing the resolution of this matter, and desire to resolve this matter without
                                         9     further litigation; and
                                     10              WHEREAS, Defendants have only recently received Plaintiff’s offer of
                                     11        settlement in this matter and need additional time to consider and negotiate the
                                     12        specific terms of any settlement; and
                                     13              WHEREAS, Plaintiff’s have agreed that Defendants may have an additional
                                     14        thirty (30) days to answer, move or otherwise respond to the above-captioned
                                     15        matter;
                                     16              IT IS HEREBY STIPULATED, by and between Defendant and Plaintiff, that
                                     17        Defendants may have up to and including December 30, 2005 within which to
                                     18        answer, move or otherwise respond to Plaintiff’s initial Complaint in this action.
                                     19              IT IS SO STIPULATED.
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B UCHALTER N EMER                                                                        2
A P R O F E S S I ON A L C OR P OR A T I O N
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                                               Case 2:05-cv-01935-MCE-GGH Document 117 Filed 12/01/05 Page 3 of 3


                                         1     DATED: November 23, 2005            BUCHALTER NEMER
                                                                                   A Professional Corporation
                                         2

                                         3
                                                                                   By:
                                         4                                                    WILLIAM M. MILLER
                                                                                              Attorneys for Defendants
                                         5                                               NAUTICA RETAIL USA, INC. BIG
                                                                                         DOG USA, INC., SKECHERS USA,
                                         6                                                 INC., THE WILLIAM CARTER
                                                                                         COMPANY AND RETAIL BRAND
                                         7                                                ALLIANCE, INC. (DBA PETITE
                                                                                          SOPHISTICATES AND CASUAL
                                         8                                                   CORNER AND BROOKS
                                                                                                   BROTHERS)
                                         9
                                     10        DATED: November __, 2005            THE LAW OFFICES OF LYNN
                                                                                   HUBBARD
                                     11

                                     12
                                                                                   By:
                                     13                                                       LYNN HUBBARD, III
                                                                                              Attorneys for Plaintiff
                                     14                                                         GARY PALMER
                                     15

                                     16        IT IS SO ORDERED:
                                     17
                                               Dated: December 1, 2005
                                     18

                                     19                                        __________________________________
                                                                               MORRISON C. ENGLAND, JR
                                     20                                        UNITED STATES DISTRICT JUDGE

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B UCHALTER N EMER                                                                   3
A P R O F E S S I ON A L C OR P OR A T I O N
          L OS A N G ELES
